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AO 441   Summons in a Civil Action



                                     United States District Court
                                       SOUTHERN DISTRICT OF CALIFORNIA

    Urban Therapies Manufacturing, LLC, California limited
    liability company


                                                                    Civil Action No. 23cv01924-TWR-AHG
                                                     Plaintiff
                                 V.
    Nicole Elliot, In Her Official Capacity As Director Of
    The State Of California's Department Of Cannabis
    Control; Robert Bonta, In His Official Capacity As
    General of The State Of California; Does 1-10,
    Inclusive
                                                   Defendant

                                             SUMMONS IN A CIVIL ACTION
    To: (Defendant's name and address)
    Robert Bonta, Attorney General in the State of California
    1300 I Street
    Sacramento, CA 95814-2919


            A lawsuit has been filed against you.
            Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days
    if you are the United States or a United States agency, or an office or employee of the United States described
    in Fed. R. Civ. P. 12(a)(2) or (3) - You must serve on the plaintiff an answer to the attached complaint or a
    motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
    plaintiff or plaintiff's attorney, whose name and address are:


              Gina M. Austin
              3990 Old Town AvenueSuite A-101
              San Diego, CA 92110
              (619) 924-9600

          If you fail to respond, judgment by default will be entered against you for the relief demanded in the
    complaint. You also must file your answer or motion with the court.

    Date:              10/20/23                                  John Morrill
                                                                 CLERK OF COURT
                                                                 S/             G. Vocal
                                                                           Signature of Clerk or Deputy Clerk
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